        Case: 25-40035
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              United States Court of Appeals
                   for the Fifth Circuit
                                                                        United States Court of Appeals
                                                                                 Fifth Circuit


                                   ___________                                 FILED
                                                                        February 3, 2025
                                    No. 25-40035                          Lyle W. Cayce
                                   ___________                                 Clerk

      UnitedHealthcare Benefits of Texas, Incorporated;
      UHC of California; Care Improvement Plus South
      Central Insurance Company; Preferred Care Partners,
      Incorporated; UnitedHealthcare Community Plan,
      Incorporated; Peoples Health, Incorporated; Sierra
      Health and Life Insurance Company, Incorporated,

                                                           Plaintiffs—Appellees,

                                        versus

      Centers for Medicare and Medicaid Services; United
      States Department of Health and Human Services,

                                             Defendants—Appellants.
                     ______________________________

                    Appeal from the United States District Court
                         for the Eastern District of Texas
                              USDC No. 6:24-CV-357
                    ______________________________

      CLERK’S OFFICE:
            Under Fed. R. App. P. 42(b), the appeal is dismissed as of
      February 03, 2025, pursuant to appellant’s motion.
        Case: 25-40035
Case 6:24-cv-00357-JDK   Document:32
                         Document  9-2 Filed
                                         Page:  2 DatePage
                                             02/03/25 Filed:202/03/2025
                                                              of 2 PageID #: 592
                                  No. 25-40035




                                            LYLE W. CAYCE
                                            Clerk of the United States Court
                                            of Appeals for the Fifth Circuit


                                   By: _________________________
                                          Rebecca Andry, Deputy Clerk

                  ENTERED AT THE DIRECTION OF THE COURT




                                       2
